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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ------------------------------------------------------------------ X   DOC #: _________________
                                                                    :   DATE FILED: March 5, 2018
 JACQUELINE GRAY,                                                   :
                                                                    :
                                              Plaintiff,            :
                                                                    :
                            -v-                                     :          18-cv-179 (KBF)
                                                                    :
 COLUMBUS AVE. FAST FOOD, LLC,                                      :              ORDER
                                                                    :
                                              Defendant.            :
                                                                    :
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KATHERINE B. FORREST, District Judge:

        The Court held a duly-noticed initial pretrial conference (“IPTC”) on March 2,

2018. Defendant did not appear, nor has it yet entered an appearance in this

matter.

        The Court notes that plaintiff has already begun the process of moving for

default. Plaintiff should move for default judgment pursuant to this Court’s

Individual Rules not later than April 4, 2018.

                 Plaintiff’s counsel is directed to serve this Order on defendant and file

proof of such service on the docket.

        SO ORDERED.

Dated:           New York, New York
                 March 5, 2018

                                                         ____________________________________
                                                               KATHERINE B. FORREST
                                                               United States District Judge
